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                     IN THE UNITED STATES DISTRICT COURT FOR THEl
                             EASTERN DISTRICT OF VIRGINIA       .
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                                                                                       gxANDFUA.VIRo^i-^'A
                                        Alexandria Division


UNITED STATES OF AMERICA                                      Case No. I:18-cr-420


                V.                                            CounU: 18 U.S.C. § 1623(c)
                                                              (Peijury)
DANIEL L. QUARLES,
                                                              Count 2: 18 U.S.C. § 1503(a)
               Defendant.                                     (Obstruction of Justice)


                                         INDICTMENT


                         November 2018 Term - at Alexandria, Virginia

                                   GENERAL ALLEGATIONS


       THE GRAND JURY CHARGES THAT:


        1.     On March 20, 2017, Preston G. Holmes III, Matthew D. Jones, and DANIEL L.

QUARLES were charged by criminal complaint with conspiring to steal firearms from a

federally licensed firearms dealer, in violation of Title 18, United States Code, Section 371, and

stealing firearms from a federally licensed firearms dealer, in violation of Title 18, United States

Code, Section 922(u).

       2.      QUARLES and Holmes are half-brothers who share the same biological mother.

       3.      On March 27, 2017, QUARLES and his counsel met with the government

pursuant to the terms of a proffer letter executed by the parties. During the meeting, QUARLES

answered questions concerning the conduct that gave rise to the aforementioned criminal

complaint.

       4.      On April 5, 2017, QUARLES entered into a plea agreement with the United

States pursuant to which he agreed to waive indictment and plead guilty to a two-count criminal
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